Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered V4/Oo0i24 Lolioviel

MMM OMT A ae cele meets a

United States Bankruptcy Court for the:

Eastern District of New York

Case number (itsnown): Chapter you are filing under:
Chapter 7
QO) Chapter 11
QI) Chapter 12
q Chapter 13 (9 Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone, A married couple may file a bankruptey case together—called a
joint case—and in Joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would bo yes if sither debtor owns a car. Whan information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report Information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the tep of any additional pages, write your name and case number
(if known). Answer every quastion.

a identify Yourself

4. Your full name

Write the name that is on your

government-issued picture Ww aldemar bod

identification (for example, iret name jee, First name

your driver's ficense or Ruiz ds

passport). Middle name Jf: Middfe name
Cruz :

Bring your picture

identification te your meeting —sLast name Last name
with the trustee. oo
Suffix (Sr, Ura Hi, 1) 2 Sufix Gr, Jr 1 A)
2. All other names you
have used In the last 8 First name 23: Firtname
years 2
Include your married or Middle name oe Middle name
maiden names. a
Last name 2S Last name
i First name “2° Firat name
1 .
Middle name ac) Middle name
Last name se Last name
:3. Only the last 4 digits of
your Social Security mx -xx-_ 0 8 9 7 000 = XK
number or federal OR oR
Individual Taxpayer 9 “Bg
identification number oC — XK — - Oxx - x -
(ITIN)

Official Form 101 Voluntary Petition for Individuals Fillng for Bankruptcy page 1
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1

First Name Middle Name

Laat Name

Case number (known)

4. Any business names
and Employer
Identification Numbers
{EIN} you have used In
the last 8 years

Include trade names and
doing business as names

“About Debtor

i have not used any business names or EiNs.

o i | have not used any business names or EiNs.

Business name

: Business name

Business name

EIN

Business name

EIN

5, Where you live

134 15 Sitka Street

: " If Debtor 2 lives at a different address:

Number Straot “Number Straat

Ozone Park NY W417 =

City State ZIP Coda a City State ZIP Code
Queens .

County . County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

: = If Debtor 2's mailing address Is differant from
“= yours, fill it in here. Note that the court will send
=<) any notices to this mailing address.

“83 Number

this district to file for
bankruptcy

wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LU | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Number Street Street

P.O. Box “2° BO. Box

City Sais WP Gada Gly Stata ZIP Code
6. Why you are choosing Check one: “» Gheek one:

“ A Over the last 180 days before filing this petition,
: | have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Dabtor 1

Case number (known),

Firat Name

Middla Nama

Last Name

es Tell the Court About Your Bankruptcy Case

i

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

SELL WAEADG  HEOETY

Check one. (For a brief description of each, see Nofice Required by 11 U.S.C. § 342/b) for individuais Filing
for Bankruptcy (Form 2010)}). Alsa, go to the top of page 1 and check the appropriate box.

wi Chapter 7

C) Chapter 11
) Chapter 12
LJ Chapter 13

(4 | will pay the entire fee when I flle my petition. Please check with the clerk's office in your
local court for more detalls about how you may pay. Typically, If you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. if your afforney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

©] | need to pay the fee tn Installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

QC) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty fine that applies to your family size and you are unable to

pay the fee in installments). {f you choose this option, you must fill out the Application to Have the

Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

Bea ORG UA RT MR LR AT RTT ashe ae eR MRM SATgET PETRIE RARE TONERS ARC AR MB ER EB

Official Form 101

/9, Have you filed for bl No
bankruptcy within the
last 8 years? Ch Yes. District When Case number
MM / DDS YYYY
District When Case number
MM/ DD/YYYY
District Wher Case number
MM? DDI YYYY
“40, Are any bankruptcy No
cases pending or belng
filed by a spouse who is Ql Yes. Debtor Ralatlenship to you
not filing this case with District When Case number, if known,
you, or by a business MMipD fYYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM /DD/YYYY
14, Do you rent your WINo. Goto line 12.
residence? CL] Yes. Has your landlord obtained an eviction judgment against you and do you want to stay In your
residence?

CI Ne. Go to line 12.

CJ Yes. Fill out initial Statement About an Evietion Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1

First Name Middle Nama:

Case number gr known),
Last Name: ‘

a Report About Any Businesses You Own as a Sole Proprietor

12. Are youasole propristor (No. Goto Part 4.
of any full- or part-time
business? C) Yes. Name and location of business
A sole proprietorship is a
business you operate as an
individual, and Is not a Name of business, f any
separate legal entity such as
2 carporation partnership, or Number Sirecl
If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition. Ciy Stale 3iF Gade
Check the appropriate box to describe your business:
U Health Care Business (as defined in 11 U.S.C. § 101(27A))
L] Single Asset Real Estate (as defined In 11 U.S.C, § 101(51B))
Li Stockbroker (as defined in 11 U.S.C. § 104(53A)}
Ld Commodity Broker (as defined in t1 U.S.C. § 101(6)})
1 None of the above
Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debfor so that il

13.

Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smalf

business debtor, see
11 U.S.C. § 107(51D).

can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1}(B).

No. 1am not filing under Chapter 11.

CY No. | amt filing under Chapter 14, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

C) Yes. 1am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ea Report if You Qwn or Have Any Hazardous Praperty or Any Property That Needs immediate Attention

14,

De you own or have any
property that poses or is
alleged to pose a threat
of Imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that noeds urgent repairs?

Official Form 101

YA No
C) Yes. What Is the hazard?

if immediate attention is needed, why is it needed?

Where is the property?

Number Street

City State ZIP Code

Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 Case number (i known}

Firat Nama Middie Name Last Name

Eo Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether

you have recelved a
briefing about credit
counseling.

The law requires that you
recelve a briefing about credit
counseling before you file for
bankruptey. You must
truthfully check one of the
following choicas. If you
cannot do so, you are not
sligible to file.

If you file anyway, the court
can dismiss your case, you
will loge whatever filing fea
you paid, and your creditors
can begin collection activities
agaln.

Officlal Form 104

You must check one:

MW | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | raceived a
certificate of completion.

Attach a capy of the certificate and the payment
plan, if any, that you developed with the agency.

(J | recelved a briefing from an approved credit
counseling agency within the 180 days before |

filed this bankruptcy petition, but i do not have a ty

certificate of completion.

Within 14 days after you file this bankruptcy petition, :
you MUST ille a copy of the certificate and payment = ~

plan, if any.

C1 certify that 1 asked for credit counseling
services from an approved agency, but was
unable to obtain these services during the 7
days after | made my request, and exigent

circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you ware unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you te file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must

still receive a briefing within 30 days after you file.
You must file a certificate from the approved

agency, along with a copy of the payment plan you

developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days,

C) 1. am not required to recelve a briefing about
credit counseling because of:

CJ Incapacity. | have a mental illness or a mental :

deficiency that makes me
incapable of realizing or making

rational decisions about finances.

C) Disability. My physical disability causes me
fo be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

L] Active duty. | am currently on active military

duty in a military cambat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):

“You must check one:

Wi | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I raceived a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

. Ql l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a -
certificate of completion. : :

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certiflcate and payment
pian, if any. :

“= [) | cartify that | asked for credit counseling
: services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, atlach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed If the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy,

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must fila a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed,

Any extension of the 30-day deadline is granted
only for cause and is limited te a maximum of 15
days. .

2 Dam not required to receive a briefing about
credit counseling because of:

LJ Incapacity. [have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CJ disability, My physical disability causes me
fo be unable to participate in a
briefing in person, Dy phone, or
through the Internet, even after i

reasonably tried to do so.

C Active duty. | am currently on active military

duty in a military combat zone.

If you beliave you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.
Case 1-24-419002-jmm Doc l Filed 04/00/24 Entered U4/O0o0i24 Lolioviel

Debtor 1 Case nUMbEF (if kromn)

First Nama Middia Name Lest Name

ted answer These Questions for Reporting Purposes

: 46. What kind of debts do
-  - you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “Incurred by an Individual primarily for a personal, family, or household purpose.”

CY No, Go to line 1b.
\@ Yes. Go to line +7.

+6b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

W No. Go ta line 160.
Lk Yes. Go to line 17,

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property Is

LC) No. lam not filling under Chapter 7. Go to line 18.

4 Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

excluded and i No
administrative expenses

are paid that funds will be Ci Yes
available for distribution

to unsecured creditors?

‘48. How many creditorsdo id 1-49 L) 4,000-5,000 2] 25,001-50,000
you estimate that you [J 50-99 {J 5,001-10,000 CI 50,001-100,000
owe? 0) 100-199 ©) 10,001-25,000 OC) More than 100,000

LI 200-999

: 49, How much do you
: estimate your assets to
be worth?

$0-$50,000

CL) $50,001-$100,000
CI $100,001-$500,000
LY $500,001-$1 million

CJ) $1,000,004-$10 million

CJ $10,000,001-$50 million
CL} $50,000,001-$100 million
[) $100,000,001-$500 miltion

Oj $500,000,001-$1 billion

Cj $1 ,000,000,001-$10 billlon
Q $10,000,000,001-$50 billion
CL] More than $50 billion

20. How much do you
estimate your liabilities
to be?

Sign Below

J $0-$50,000

CQ) $50,001-$100,000
CJ $100,001-$500,000
LJ $500,001-$1 million

Cd $1,000,001-$10 million

£] $10,000,001-$50 million
CJ $50,000,004-$100 million
(] $100,000,001-$500 million

(2 $500,000,004-$1 billion

C1 $1,000,000,001-$10 billion
C) $£0,000,000,001-$50 billion
C2 More than $50 billion

For you

eh i!

Official Form 104

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to praceed

under Chapter 7.

If no attomey represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up te 20 years, or both,
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x

Keyelpemar Put2- Cru

Signature of Debtor 1

Executed on os: Ve ot!

MM / DD

LAE

LYYYY

Signature of Debtor 2

Executed on

MM / DD OLYYYY

Voluntary Petition for Individuals Filing for Bankruptcy

page 6
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1

Case number (# knewn).

Firat Nama:

For your attorney, if you are
_ represented by one

: If yeu are not represented
; by an attorney, you do not
: need to file this page.

Official Form 101

Middle Nama

Last Nana

74 SP pened athe 8 aE

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained tha relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s}
the notice required by 11 U.S.C. § 342(0) and, In a case in which § 707(b)}(4)(D} applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

x Date

Signature of Attorney for Dabtor MM}

DD IYYYY

Michael L. Walker, Esq

Printed name

The Law Offices of Michael L. Walker

Firm narne

9052 Fort Hamilton Parkway
Number Street

Second Floor Suite

NY
State

11209

Brooklyn
ZIP Code

City

Contact phone (718) 986-4274 Email address Mwalker@ michaelwalkerlaw.co |;

NY
State

4515318

Bar number

Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

UMC meek hk mee Oo: a

Debtor 4 Waldemar Ruiz Cruz

First Name Middla Nara Last Name

Debtor 2
(Spause, IF filing} First Name Middia Nama Last Name

United States Bankruptcy Court for the: Eastern District of New York

Cage number Ci Check If this is an
{IF knewe) amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information — 12/15
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. Fill out ali of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Es Summarize Your Assets

lee?
Value of what you own.

1. Schedule A/B: Property (Official Form 106A/B)

1a. Gopy line 55, Total real estate, from Schedule A/B ic ceecessceeenseeeeestceeneeteenenddteenedenbLe sed eee M MI LanEMerN Aces dnenerenensueneaee $ ___ 9.00
! Tb. Copy line 62, Total personal property, from ScHadtle A/B..ssssesssssssnssseessscseesscssesesesseessasessesesssserecssnsecieasensonsecessoessansees $ 4,585.00
tc. Copy line 63, Total of all property on Schedile AVB oo. sccsccscessseues seers sececenessnenssneersnresonecenarsennuiescnenerisinannce $ 4,585.00

Ea Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule Do. $ cone enn 00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part 7 (priority unsecured claims) from line 6e of Schedile EVP... esse eee ieernenenets $ :
3b. Gopy the total claims from Part 2 (nonpriority unsecured claims} from line 6j of Schedule E/P ote cesses tenes sensees + 105,903.76
Your total liabilities | $105,903.76
Ee Summarize Your Income and Expenses
4. Schedule |: Your fncome (Official Form 1061)
, $ 4,000.00
| Copy your combined monthly income from line £2 of Schedule fa... esc cesesseeeseecsesescecensseesennesseressqavecenaeastenesssessneeasiaged tends
t
: 6. Sehedule J: Your Expenses (Official Form 106J}
: — Gopy your monthly expenses from line 22c of Schedule J o.....eccscsesecsessesesssesnercussneessessseatesssessareseedensanesnienetearsaneseetateaieens g___ 4,107.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1 Waldemar Ruiz Cruz Case number (known

FirstName Middla Nama Last Name

Cr Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

CJ No. You have nothing to report on this part of the form. Gheck this box and submit this form to the court with your other schedules.

Wi Yes

[rmeisranrancirtereto oe SONG STE i Te ao PDA Aart ne GRE tba Pohogs SATE RENO PIETER AE AT BEE te eee bey OE TRE a RG De RE ED RE ar

7. What kind of debt do you have?

wi Your debts ara primarily consumer debts. Consumer debis are those “incurred by an individual primarily for a personal, ;
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(J Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

NTS TE GINS ARNT EO rave etctar estndolace Weiss ue AAR EINE A ESET STEEL MY oe Spar SE AEE SSR SHE AE RETR

| 8. From the Statement of Your Gurrant Monthly Income: Copy your total current monthly income from Official i
| Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. § 4,000.00
b

i
i
:
}

Sa. Domestic support obligations (Copy line Ga.) $ 0.00

! 9b, Taxes and certain other debts you owe the government. (Copy line 6b.} $ 0.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

Od. Student loans. (Copy line 6f.) $ 0,00

Se. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

: priority claims, (Copy line 6g.) :

: |

$f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0.00 |

| i

| i

| 9g. Total. Add lines 9a through $f. $ 0.00 |
|

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 1-24-41002¢-jmm bVDocl Filed 04/00/24 Entered V4/Oo0/24 Lolioviel

MUM UUEMUCOU Etim ism cell merce tite mM ase

Debtor1 Waldemar Ruiz Cruz

First Nama Middle Nama: Lest Name

Debtor 2
(Spouse, if filing) First Name Middle Nama Last Name

Unlted States Bankruptey Court for the: Eastern District of New York

Case number

(al Gheck If this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 42116

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, [lst the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

© 1. Bo you own or have any legal or equitable interest in any residence, building, land, or similar proparty?

Wi No. Go to Part 2.

i] Yes, Where is the property?
What Is the property? Check all that apply.
Oo Single-family nome

| by Property:

14.

Street address, if available, or other description O Duplex or matt unit building * we Oe ve :
C) Condominium or cooperative Current value of the Currant value of the :
[] Manufactured or mobile home antire property? portion you own?
QO) Land $ %
CD investment property —
CJ timeshare Describe the nature of your ownership

City State = ZIP Code Q interest (such as fee simple, tenancy by

Other the entireties, or a life estate}, if known.

Who has an Interest in the property? Check one.
(CJ Debtor 4 only

County 4) Debtor 2 only

UO Debtor 1 and Debtor 2 only () Check if this is community property
OQ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as focal

property identification number:

if you own or have more than one, list here:

What is the property? Chack all that apply.
Q Single-family home

secured.clalms:on Seltadule D:- :
CJ puplex or mult-unit bullding

12. 8 Seciired b ity.

Streat address, If available, or other description

LJ Condominium or cooperative Current value of the Current value of the -
CQ) Manufactured or mobile home entire property? portion you own?
CO) Lana $ $
LJ investment property
C2 Timeshare Describe the nature of your ownership
Gity State ZIP Code Interest (such as fee simple, tenancy by
O other the entiretles, or a life estate), if known.
Who has an interest in the property? Chack one.
(3 bebtor 1 only
County CD Debtor 2 only
L Debtor 1 and Debtor 2 only C) Check if this is community property
(] At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Official Form 106A/B Schedule A/B: Property page 7
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1 Waldemar Ruiz Cruz Case number (7 known)
Firet Nerrie Middle Namie Last Nama
What is the property? Check all that appiy. “Di nit déduict saqured claims ot exemptions. Put
. “the arniount of any securéd:claims on: Schedule D:
1.3, Q Single-family home } Creditors wha. Have Claims: Secured by Property. «
Street address, if available, cr other description Cy Duplex or multitunit oullding :
C2 condominium or cooperative Current value of the ‘Current value of the 4
[J Manufactured or mobile home entire property? Portion you own?
(J Land 5 6
CD investment proparty
City Slate zip Code J Timeshare Describe the nature of your ownership
gO interest (such as feo simple, tenancy by
Other the entireties, or a life estate), If known.

Whe has an Interest in the property? Check ona.
LJ Debtor 1 only

County CO) Debtor 2 only
C1] Debtor 1 and Debtor 2 only Oo Check if this is community property
(C) At least one of the debtors and another (seo instructions)
Other Information you wish te add about this item, such as local
property Identification number:
2. Add the dollar value of the portlon you own for all of your entries from Part 1, including any entries for pages $ 0.00
; you have attached for Part 1. Write that number here. .....2..-.cceceece ces eeeeeneeeeereeneneeeresanenanenee ns duet pereepenneneeandeeeeenene > TT

Ea Describe Your Vehicles

: De you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
' you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Exeeutory Coniracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

LY No
i Yes
3.1. Make: Honda Who has an interest in the property? Chack one. “De nat de uct seoured laitis 6 eenptions, Put”
Model: Accord Wl Debtor 4 only
2023 CJ Debtor 2 only ps ee
Year {) Debtor 1 and Debtor 2 only Current value of the Current value of the :

Saf . entire property? ortion you own?
Approximate mileage: 90,000 CJ At least one of the debtors and another property? P ¥

Other Information:

() Check if this is community property (see $ 0.00 0.00 :

lease instructions)

If you own or have more than one, describe here:

3.2.. Make: Who has an Interest in the property? Check one. *

Model: (2 Debtor 1 only
: y (C1 Debtor 2 only : alt ‘the “ou vt fue fth :
i ear: ——___. Current v value of the Current value of the :

imate mil . U1 Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: [] At least one of the debtors and another
Other information:
C] Check if this is community property (see $ $
instructions)

Official Form 106A/B Schedule A/B: Property page 2
Case 1-24-41902-JMM

Debtor 1 Waldernar Ruiz Cruz

Doc Ll Filed 04/00/24 Entered 04/00/24 Llologicl

Case number ¢ iawn)

Firat Name Middla Name Last Name.
33. Make: Who has an interest in the property? Check one. - Do not deduct ‘gacuied dims or exemptions: Put:
. Model i Debtor 4 only “thie amount: ‘of any secured claims on. ‘Schedule D:
Year: (2 debtor 2 only BEERS PU bee DS Ta a
© debtor 1 and Debtor 2 only Current value ofthe Current value of the
Approximate miteage: () Ai least one of the debtors and another entire property? portion you own?
Other Information:
CJ Check if this Is community property (see $ §,

a4, Make:
Model:
Year:
Approximate mileage:

Other information:

instructions}

Who has an interest In the property? Check one.

C) Debtor 4 only

(2 Debtor 2 only : EEE os gyre ginegae OP ea 8
(Debtor 1 and Debtor 2 only Current value of the Current vatue of the -

entire property? ortion you own?
C2 at teast one of the debtors and another property P ny
Ci check if this Is community property (soe $. $.

instructions)

: 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

C] No
UC) Yes

4.1, Make:
Model:

Year:

Other information:

If you own or have more than ona, list here:

Who has an Interest in the property? Check one. © Hovnat daduct'eeoured 5 Bxemptio
CI Debtor 4 only
C0 Debtor 2 only
() Debtor 1 and Debtor 2 only

Current value of the Current vaiue of the
( At least one of the debtors and another entire property? portion you own?
LJ Check if this Is community property (see $ ¢

instructions)

4.2. Make: Who has an interest in the property? Check one. ‘
- fo Pamount oF. any’ secured: elainis an-Sth uk

Modal: 5 Debtor 1 only Cree ors. Who, Heve Claims Secured: by:

Debtor 2 onl . oe :
Year: Cl Debtor 4 od Debtor onl Current value of the Current value of the :

her inf Hon: y entire property? portion you own?
Other information: (CY At least one of the debtors and anather
(] Cheek if this is community property (see 8
instructions)
: 5. Add the dollar value of the portion you own for all of your entrias from Part 2, including any entries for pages 0.00
you have attached for Part 2. Write that mummber Were... ....ssssssssseessensssnesseeecesnenseeecesuamenssntetranreeneetoneeseevessduteconasarsvareesanrse et >

Officlal Form 106A/B

Schedule A/B: Property page 3
a Describe Your Personal and Household Items

: 6. Household goods and furnishings

Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1 Waldemar Ruiz Cruz Case number (known),

Firet Name Middle Name Last Nera

equitable in sny of the following itents?

Examples: Major appliances, furniture, linens, china, kitchenware

“Current value ‘of the:: :
spportlon you own?”
Bo:nat deduct secured claims ~.

-5orexemptions.:.

C) No , :
W Yes. Desoribe......... bed, dresser, table, chairs, couch $ 2,500.00 :
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
C] No
Wi Yes. Describe.......... cellphone, television $ 1,500.00 .
: g, Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects:
stamp, coin, or baseball card cotlections; other collections, memorabilia, collectibles
id No
Ld Yes. Describe.......... $
_ 9 Equipment for sports and hobbles
: Examples: Sports, photographic, exercise, and other hobby equipment; bleycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
No
Ci Yes, Deseribe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, arnmunition, and related equipment
hdl No ven
CL) Yes. Describe.......... g
: 14.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
Q) No .
(A Yes. Describe.......... jeans, shirts, shoes, jackets $ 500.00 :
: 12. Jawelry
: Examples: Everyday jewelry, costume jawelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
W No
Cl Yes. Describe.......... $
' 13,Non-farm animals
Examples: Dogs, cats, birds, horses
i No
L] Yes. Describe.......... 8
' 14. Any other personal and household items you did not already list, including any health aids you did not list
W No
C} Yes. Give specific 8
information. .............
: 15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached § 4500.00
>

for Part 3. Write that mumber ere oo... ssc scenes rerecesesseceneseenenennnesnseenenees sacs seeeeasanaeesetaanereea

Official Form 106A/B Schedule A/B: Property

page 4
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor1 Waldemar Ruiz Cruz

First Nama Middle Nama Las{ Name

Describe Your Financial Assets

Case number tf xnawn)

“Currant value of the

"Do you own or have any legal:oré Gurrant ve :
OOP RRY toc te Sas SSR “partion you own? &°

jo riot deduct secured-claims :
sor Bxemptiong. 222!
. 16.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

Wd No

C) Yes... seeesanvesaneenunenyenenens sete canaeeaeesscemennes pene CaSH! cecssrecsnseccserseee $ 0.00

17. Deposits of meney
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage hauses,
and other similar Institutions. If you have multiple accounts with the same Institution, list each.

i No

CY Ves. Institutlon name:
17.1. Checking account: Wells Fargo $ 85.00
47.2. Checking account: $
47.3, Savings account: §
17.4. Savings account: $
17.4, Certificates of deposit: $
17.4. Other flnancial account: $
17.7, Other financial account: $
17.8. Other financial account. $
17.9, Other financial account: $

48. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

¥4 No

CF Yes eee Instituflon or issuer name:

- 49. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

Wd No Narne of entity: % of ownership:
Cd Yes. Give specific 0% %
information about 9,
HEM ccsersesineree 0% %
0% %

Official Form 106A/B Schadule A/B: Property page 5
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 4 Waldemar Ruiz Cruz

Gase number (i Anown

Firet Name Middis Name ‘Leat Name

: 20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotlable instruments are those you cannot transfer to someone by signing or delivering them.

W] No

Cl Yes. Give spacific Issuer name:
Information about
NOT esse esseeescssenen $

: 24. Retirement or pension accounts
Examples; Interests in IRA, ERISA, Keagh, 401(k), 403(b}, thrift savings accounts, or other pension or profit-sharing plans

WI No
CI] Yes. List each

account separately. Type of account: Institution name:
401(k) or simitar plan: $
Penslon plan: §.
IRA: $
Retirement account $
Keogh: $
Additional account: $
Additional account: $
, 22. Security deposits and prepayments
i Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
Va No
CO Yes a csassssssessnsussees Institution name or individual:
Electric: $
Gas: $
Heating oll: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: 4
Water: $
Rented furniture: $
Other: $
: 93. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
1 No
DD YES .ieccccnueee — IS8U8r name and description:
$
§
$

Official Form 106A/B Schedule A/B: Property page 6
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor Waldemar Ruiz Cruz

Gase number (known),
First Narne. Middla Name Last Name

24. Interests in an education IRA, in an account In a qualified ABLE program, or under a quallfled state tultion program.
26 U.S.C. §§ 530(b)(1), 529A(b}, and 529(b)(1}.
1 No

CD YB eernssnnnnnnntnan Institution name and description. Separately file the records of any Interests.11 U.S.C. § 521{c):

| 25. Trusts, equitable or future interests in property (other than anything listed in line 4), and rights or powers
: exercisable for your benefit

WI No

i] Yes. Give spacitic
information about them... $

26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Zt No

LI Yes. Give specific
information about them... $

_ 27, Licensas, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No

C) Yes. Give specific
Information about them... $

urrerit.value:of the":
portion you own?
Do not deduct secured:

claims‘or-exémption u

‘Money oF propdrty ow

| 28. Tax refunds owed to you
WI No

L] Yes. Give specific information
about them, Including whether
you already filed the returns State: $
and the tax years. 0... ace

Federal: $

Local: $

: 29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

W@W No

L) Yes. Give specific information...
Alimony; $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

30. Other amounts someone owes you
Exampies: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacafion pay, workers’ compensafion,
Social Security benefits; unpaid loans you made to someone else
i No
C9 Yes. Give specific information..............-
$

Official Form 106A/B Schedule A/B: Property page 7
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 4 Waldemar Ruiz Gruz

Case number ¢ ierowa),
Firat Nama Micdis Nama Lost Name

: $1. Interests In Insurance policies
Examples: Health, disability, or life insurance; heaith savings account (HSA); credit, homeowner's, or renter's insurance

Wi No

C] Yes. Name the Insurance company

‘ ee Company name: Beneficiary: Surrender or refund value:
of each policy and list its vaiue. ...

"32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

W No

C Yes. Give specific information...........

: 33, Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
: Examples: Accidents, employment disputes, insurance clairns, or rights to sue

i No _.
| ;

QC) Yes. Describe each claim.......
34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
: to set off claims

I No

CJ Yes. Describe each claim. uu...

$
: 35. Any financial assets you did not already list
4 No
CJ Yes. Give specific Information............ $
' 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that murmber Were ...........ssssssssssssssssensencsssrsnseressssesteeecetcenestesteeesonanmmnecerssnnaseeeeenserseeeeeeesennananernsvéssseerameneneees sng > § 85.00

Eo Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
| AZ) No. Go to Part 6.
CI Yes. Go to line 38.

Gurront value of th

portion:you‘own?
Do not deduct secured claln
of exemptions. 35-0:

: 38. Accounts receivable or commissions you already earned

4 No
CL) Yes. Describe.......

iS
: 89. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, moderns, printers, coplers, fax machines, rugs, telaphones, desks, chalrs, electronic devices
W No
C) Yes. Deseribe....... | ’

Official Form 106A/B Schedule A/B: Property page 8
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 4 Waldemar Ruiz Cruz

Case number ¢ftmown}
First Nama Middle Name Last Namo

40. Machinery, fixtures, equipment, supplias you use in business, and tools of your trade

Wi No
CY Yes. Describe....... 's
|
: 44, Inventory
4 No
CJ Yes. Dascribe......! s

: 42. Interests in partnerships or joint ventures

bd No

CU Yes. Desoribe....... Name of entity: % of ownership:

it 5
% §
% §

43. Customer lists, mailing lists, or other compllations

Ld No

L] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
QC) No
Ld Yes, Describe........

: 44, Any business-related property you did not already list
No

(3 Yes. Give specific
information ........-

A fF <9 << ff «fA

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached % 0.00
for Part 5. Write that number here .. deoweavesneacssensne ieee ceneeeae

Describe Any Farm- and Gommercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

: 46.Do you own or have any fegal or equitable interest in any farm- or commercial fishing-related property?
GA No. Go to Part 7.
LJ Yes. Go to line 47.

portio you own? «>:
Do riot daiiuct secured claims:
or exemptions.

: 47. Farm animals
Examples: Livestock, poultry, farm-raised fish
idl No

DO Ves eeccccsessssessscsnee

Official Form 106A/B Schedule A/B: Property page 9
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1 Waldemar Ruiz Cruz Case number GFknown)

Firat Name Middle Nama Last Name

48, Crops—elther growing or harvested

i No
CL} Yes. Give specific
information. ow... $
. 49,Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
W No
CD Yes eaaessssssssesssesssses
$
50. Farm and fishing supplies, chemicals, and feed
No
TOD YS cece esspeseesseeee
§
51. Any farm- and commercial fishing-related property you did not already list
' YA No
L) Yes. Give specific
Information. ....00 $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that muimber Mere .....cciccssscseressersscrecenecesscneentecesneeeeseeseeneened codecs sess seassesuunnne U1sMInduOMHVaMAUEsnad EnuAueapronge nee saseansat apenas oe >
Ea Describe All Property You Own or Have an Interest in That You Did Not List Above
; 63. Do you have other property of any kind you did not already list?
: Examples: Season tickets, country club membership
i No $
C) Yes. Give specific
INFOrTMATION, 0-00. $
$
tet >» | s 0.00
_ 54, Add the dollar value of all of your entries from Part 7. Write that number here
List the Totals of Each Part of this Form
| 55. Part 1: Total real estate, HN 2 .-..s.enesmsmensnmnmnininmnnnimintnsntninnnniinnntr nnn > 5 0.00
: 56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total personal and household items, line 15 $ 4,500.00
58. Part 4; Total financial assets, line 36 $ 85.00
5¢. Part 5: Total business-related property, line 45 $ 0.00
: 60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
_ 61.Part 7: Total other property not listed, line 54 +5 0.00
: 62.Total personal property. Add lines 56 through 61. «0... $ 4,585.00 Copy persona! property total = + $ 4,585.00
- 63. Total of all property on Schedule A/B. Add line 55 + lite 62....sscsssesssasssssscsicsisssnssnssqsstaseasesanssctsctnsenetsaeenete $ 4,585.00
Official Form 1064/B Schedule A/B: Property page 10

Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

SMH MU CMICCMUELiteli mcm (elt iiye velo mers tot on

Debtor 4 Waldemar Ruiz Cruz

Firat Name Middle Name Last Name

Debtor 2
(Spouse, if fillng) First Name Middia Nama Laat Name

United States Bankruptcy Caurt for the: Eastern District of New York

Case number CJ Check if this is an
{if known) amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt oaite

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to thls page as many copies of Part 2: Additional Page as necessary. On the top of any additiona! pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
spacific dollar amount as exempt. Alternatively, you may claiin the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive cartain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of falr market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Ca Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

1] You are claiming state and federal nonbankruptey exemptions. 11 U.S.C, § 522(b)(3)
bd You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

| 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief

11: U.S.C. 522(d}(3

description,  —ousehold Goods _ _§ 4,585.00 Mis 1U (d)(3)
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Cis
Line from (3 100% of fair market value, up to
Schedule A/B: : any applicable statutory iimit
Brief
description: $ Ls
Line from L] 100% of fair market value, up to

any applicable statutory limit

Sehedule A/B:

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

Wi No

CD Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

CW No
_O1 Yes oe oe. ee oe a

Official Form 106C Schedule C: The Property You Claim as Exempt cage 1 of __
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1 Waldemar Ruiz Cruz Case number (if knows)

First Name Middle Name: Last Name

Es Additional Page
AA

Copy the'value from

ss eS Schedles AB oe

Brief

description: $ Os

Line from CJ 100% of fair market value, up to
Schedule A/B: oo any applicable statutory limit
Brief

description: § Os

Line from 0 100% of fair market value, up to
Schedule A/B;_ ——— any applicable statutory limit
Brief

description: $ His

Line frem LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: § Os

Line from C) 100% of fair market value, up to
Schedule A/B: ee _ any applicable statutory limit
Brief

description: 5. Os

Line from Ch 100% of fair market value, up to
Schedule 4/8: ——— any applicable statutory limit
Brief

description: $_ L) $

Line from (2 100% of fair market value, up to
Schedule A/B: ~—__ any applicable statutory limit
Brief

description: § Os

Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: 5 Os

Line from LC 100% of fair market value, up te
Schedule A/B: ————— any applicable statutory limit
Brief

description: $ Cs

Line from CQ) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: § _ Us

Line from Ci 400% of fair market value, upto .
Schedule A/B: any applicable statutory fimit
Brief ,

description: 8 Lig

Line from [} 100% of fair market value, up to
Schedule A/B:._ ———— : any applicable statutory limit
Brief

description: $ Os

Line from CQ 100% of fair market value, up to

Schedule A/Bi. ——— any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of __
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

PMU MECC CoM telouliha mice] 6m sr toL=

Debtor 4 Waldemar Ruiz Cruz

Firat Nama Middle Name Last Name

Dabior 2
{Spousa, lf filing) First Nama Middla Nama LastName

United States Bankruptcy Court for the: Eastern District of Naw York

Case number .
(if known! 2) Check if this is an

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 125

Be as complete and accurate as possible. If two married people are filing together, both ara equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have clalms secured by your property?
bA No. Check this box and submit this form te the court with your other schedules. You have nothing else to report on this form.
CL) Yes. Fill in all of the information below.

List All Secured Claims

Creditors Name

Number Straet

City Stata ZIP Code

Who owes the debt? Check one.

) debtor 1 only

C2 Debtor 2 only

LJ Debtor 4 and Debtor 2 only

O) Atleast one of the debtors and another

() Check if this claim relatas to a
community debt

Date debt was Incurred

As of the date you file, the claim is: Check all that apply.

C) Contingent

al Unliquidated

QO visputed

Nature of lien. Check all that apply.

Q] An agreament you made (such as mortgage or secured
car loan)

(Statutory lien (such as tax lien, mechanic's tien)

Ql Judgment lien from a lawsuit

O other (including a right to offset)

Last 4 digits of account number

23

Craditor's Name

Describe the property that secures the claim: §

Number Street

Clty Stata ZIP Code

Who owes the debt? Chack one.

QC) debter 4 only

CY Debtor 2 only

ied Pebtor 1 and Debtor 2 only

(CJ Atleast che of the debtors and another

C) Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, tha claim ts: Check aif that appiy.

L) Contingent

C] wnliquidated

C] Disputed

Nature of tlen. Check all that apply.

LJ An agreement you made (such as mortgage or sacured
car loan)

CD Statutory llen (such as tax lian, machante’s lien}

CY Judgment lien from a lawsuit

(1 other Gneluding a right to offset}

Last 4 digits of account number

Add the dollar value of your entries in Column A oni this page. Write that number here::

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1of_

Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Dabtor 4 Waidemar Ruiz Cruz

Case number (Ff known),
Firat Name Middle Name Last Name

“Colunin:C.>

Additional Page :
e Unsecured’.

After listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so forth.

Describe the property that securas the claim: £ $ $
Crediter’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
hy State ZIP Code QO) unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien, Check ail that apply.
CE Debtor 4 only O1 Anagreement you made (such a8 mortgage or secured
CE debior 2 only car Ioan)
0 Debtor 4 and Debtor 2 only () Statutory llen {such as tax len, mechanic's lian)
(2) Atleast one of the debtors and another DY Judgment tien from 2 lawsuit
(CJ Other (Including a right to offset)
C1 Check If this claim relates to a
community debt
Date debt was Incurred Last 4 digits of account number
L_| Describe the property that secures the clalm: $ $ $
Creditors Name
Number Street

As of the date you file, the clalm is: Check ali that apply.
O Contingent

CU unliquidated
ay State ZIP Code QI disputed

Who owes the debt? Check one.
.) Debior 1 only

Nature of lien. Check all that apply.

QO] An agreement you made {such as mortgage or secured

QO Debtor 2 only car loan}
C2 Debtor 1 and Debtor 2 only oO Statutory llen {such as tax lien, mechanic's lien)
(CJ At least one of the debtors and another Judgment lien from a lawsult

Q) other (including a right to offset)

LE Check If this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number ee wee
| Describe the property that secures the claim: $ $ §
Creditor's Name
Number Straet

As of the date you file, the claim Is: Check all that apply.
O Gontingent

City State ZIP Code QO) unliquidated
C) Disputed
Who owes the debt? Check one. Nature of Hen. Chack all that apply.
Ll Debior 4 only ( An agreement you made (such as mortgage or secured
(2 Debtor 2 only car joan)
(1 Debtor 1 and Debtor 2 only Q Statutory len (such as tax lien, mechanic's lien}
LJ At least one of the debtors and another (Judgment tien from a lawsuit

O1 Other (including a right to offset)

(J Ghesk if this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number

f

“If this is the last page of your form, add the dollar value totals from all, pages.
_ Write that number here: _B

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page ___of
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 4 Waldemar Ruiz Gruz

Case nuntber (i krown),

Firat Name Middie Nama Last Name

co List Others to Be Notified for a Debt That You Already Listed

; Use this’ page. only ifyouh ave e others to | b notified ‘about your. ankrubiey. for a ‘debt that y you already tk listed in Pa 4 For sr example; is a collection. Lok
debt you-owe to sorieone else, Hat the creditor in Part, and then llet the-collection agency here. Similarly, if
ny of ao dabts that you listed. in Part 1, list theadditional creditors: here: Ifyou: do. not. have. additional parsons: to

 vagency.is:trying t¢:collect. fron yout
you have more than one prec fore
be. notified for: any debts in

{

On which line In Part 1 did you enter the creditor?

Last 4 digits of account number _ I

Number Street

City State

ZIP Gode

a TEE LRG REST

sitase,

On which line in Part 1 did you enter + the creditor?

Last 4 digits of account number ;

Number Street

i

State ZIP Code

on which line § in Part 1 od you 1 enter the creditor? _ i

Last 4 digits of account number oe

Number Street

City State ZIP Code i

‘On which line in Part 1 did you 1 enter -the creditor?

Name Last 4 digits of account number,

Number Street i

|

i City State ZIP Code :

: . vere pon ot oe Reg enn anc ancora re ws see ravunneeemeiscemmiece se muenenpearorer woman nmetirmienn, od omnad

| On which line in n Part 1 did you u enter arthe creditor? i

Name Last 4 digits of account number ___ ee |

|

Number Street

aity State ZIP Gode

lL] ‘on n whieh tine i in » Part 1 did you enter ar the creditor? :
: Name Last 4 digits ofaccount number

Number Street

ZIP Goda !

City State

Official Form 106D

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page. of
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

MUM CMU UMC CURR ele mers ice

(lf known)

Waidermar Ruiz Cruz

Case number

Dabtor 1

First Name Middle Name Last Name
Debtor 2 :
(Spouse, liflling) Fret Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of New York

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

C] Check if this Is an

amended filing

12/15

Be as complete and accurate as possible, Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that couid result in a claim. Also list executory contracts on Schedule

A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any

creditors with partially secured claims that are listed in Schedule BD: Creditors Who Have Claims Secured by Property. If more space is

needed, copy the Part you need, fill It out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known}.

Ea List Aji of Your PRIORITY Unsecured Claims

4.

Do any creditors have priority unsecured claims against you?
Gd No. Go to Part 2.

Last 4 digits ofaccountnumber § $
: Priority Creditor’s Name }
; i
| When was the debt incurred? i
i Number Streat
As of the date you file, the claim is: Check all that apply.
hy State ZIP Gade C1 Contingent i
DQ untiquidated
Whe Incurred the debt? Check ons. OD bisputed
(J Debtor 4 only
O Debtor 2 only Type of PRIORITY unsecured claim: ‘
5 Debtor 1 and Debtor 2 only (1 Domestic suppart obligations
At least one of tha debtors and another C) Taxes and certain ather debts you owe tha government !
C) Check if this claim Is for a community debt Cd Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
O no O other. Spactfy
C] Yes i
22 | Last 4 digits of accountnumber gg 5
Priority Craditor’s Nama

Official Form 106E/F

Number Streat

City State
Who incurred the dabt? Gheck one.
LJ Debtor 1 oniy

Ot bebter 2 only

O) Debtor 1 and Debtor 2 oniy

(L] At least one of the debtors and another

ZIP Goda

) Cheek if this claim is for a community debt
Is the claim subject to offset?
O No

Oh Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

(2 contingent
OF Unliquidated
U) Disputed

Type of PRIORITY unsecured claim:
(2 Domestic support obfigations

CJ Taxes and certain other debts you awe tha government

O) Claims for death or personal injury while you were
Intoxicated

C) other. Spacify

Schedule E/F: Creditors Who Have Unsecured Claims

page 1of_

Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1 Waldermar Ruiz Cruz

Case number if mown),

First Nama Middle Name

Last Neme-

cm Your PRIORITY Unsecured Giaims — Continuation Page

After. listi f ig any entries on this s pag

i, number them beginning with 2 3 followed by: 2. 4, and 50 9 forth.

© Total elaine’

“Priority

“Nonpriority’

ue “amount... amount.
| Last 4 digits ofaccount number $ § §
i Priority Creditar's Nama i
When was the debt incurred?
i Number Strast i
| As of the date you file, the claim Is: Check all that apply.
O] Contingent
| City Slate ‘ZIP Cade O unliquidated i
| CJ Disputed i
Who incurred the debt? Check one. :
C) Debter 1 only Type of PRIORITY unsecured claim:
i 5 Debtor ; on Debtor 2 en! (Domestic support obligations
wt Debtor 1 and Debtor 2 only h O) Taxes and certain other debts you owe the government :
Atleast one of the debtors and another C) Claims for death or personal Injury while you were |
| OC Check if this claim Is for a community dabt intoxicated
| O Other. Spactty
Is the clalm subject to offset?
DI Ne
i QO) Yes
Last4 digits ofaccountnumber_ SF § § {
i Priority Greditor's Name i
| When was the debt Incurred? i
} Number Streat :
As of the date you file, the claim is: Check all that apply. :
{] Contingent |
: Gilly Sista” HP Code C1) unliquidated i
: C) Disputed
i Who Incurred the debt? Chack one. :
©) debtor 4 only Type of PRIORITY unsecured claim:
| 4 Debtor 2 only (2 Domestic support obligations
C Debtor 1 and Pebtor 2 only (} Taxes and certain other debts you owe the gavarnment i
At least one of the debtors and another QO) Claims for death or persona! injury wille you were |
i t
C) check if this claim Is for a community debt Intoxicated
(2 Other. Specify :
Is the claim subject to offset?
i
| 2 No
QO ves
Last 4 digits of accountnumber Ss tsi*S 8 $
Priority Crealtor's Name
When was the debt incurred?
i Number Street }
As of the date you file, the clalm is: Check all that apply.
J Contingent
Cily State ZIP Gode CJ Unliquidated

| Who Incurred the dabt? Check ane.

CQ) Debtor 4 only

CL) Debtor 2 only

i OQ Debtor 1 and Debtor 2 only

t C1 At least one of the debtors and another

CO) Check if this claim is for a community debt
|
Is the claim subject to offset?

OC No
: Cy Yas _

Official Form 106E/F

(9 Disputed

Type of PRIORITY unsecured claim:

CY Domestic support obligations
(4 Taxes and certain other debts you owe the government

LQ Cleims for death or parsonal Injury while you were
Intoxicated

(3 Other. Specify

Schedule EJF: Creditors Who Have Unsecured Claims

of
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo0/24 Lolioviel

Waldermar Ruiz Cruz

First Nema: Middla Name

Debtor 4 Case number (i mown,

Laat Nana

Ea List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

- nonpriarity, Unsecured claim, list the, ‘Gfeditot

Yes

bt | Honda Financial Services

|
: [-] No. You have nothing to report in this part. Submit this form to the court with your other schedules.
|

separately foreach Claim. For each claim listed, identify: what type. 0 ns
““ineluided ini Part-1. Ifumdre than:one creditor holds:4 particular o| claim, list the other, creditors i in. Part 3: f you ‘have more: ‘than’ three priprionity, ungeciired
slain fi fill, ‘out the: Continuation: Page, of ‘Part : : PETS art ’ .

Last 4 digits of account number 6 8 9 2

i
1
i
t

Nonprlority Creditors Name g__-27,212.74
PO Box 70252 When was the debt Incurred?
Number Street ‘
Philadelphia PA 19176
City State ZIP Code As of the date you file, the claim is: Check all that apply. :
wf Contingent
Who incurred the debt? Check one. Unliquidated
Vd Debtor 4 only Q Disputed
| (I Debtor 2 only
C) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured clalm: !
C1 Atleast one of the debtors and another CO Student loans
| C2 Check if this claim Is for a community debt C) Obligations arising out of a seperation agreement or divorce
: that you did not report as priority claims i
: Is the claim subject to offset? LJ bebts to pension or profit-sharing plans, and other simitar debts :
4 No C) Other. Specify
f] ves i
ke | Freedom Road Financial Last 4 digits of account number 7 9 33 g__ 5,470.00 |
Nonpriorty Greditor's Name When was the debt incurred?
| PO Box 4597
Number Street i
: Oak Brook IL. 60522 As of the date you file, the clalm [s: Check all that apply.
City Stata ZIP Goda [Contingent
Who incurred the dabt? Check one. LJ unliquidated
a Debtor 1 only O Disputed
(1) Debtor 2 only i
(1 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim: :
(LI Atjeast one of the debtors and ancther C) Student loans
. . LJ Obligations arising out of a separation agreement or divorce :
CO Cheek if this claim is for a community dabt that you did noi report as priority claims
Is the claim subject to offset? (2 Debts to pension or profit-sharing plans, and other sir#ar debts i
i No QO other. Specify
CI Yes
“3 | First Tech Federal Credit Union Last 4 digits of accountnumber 7 5 4 3 4,581.00
i Nonpriarity Craditor's Name sere |
} PO Box 2780 When was the debt incurred?
i Number Street
Forland OR 527208 As of the date you file, the ctalm is: Check all that apply.
Who Incurred the debt? Check one. a Contingent :
CI Debtor 4 ont . Uniiquidated :
enor Tony O disputed
Cl Rebtor 2 oniy
i 0 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another
QJ Student loans :
O} Cheek if this claim is for a community debt QO) Obligations arising out of a separation agraament or divorce :
. ' that you did nof report as prictity claims :
fiset? i
Oe claim subject to offse LI] Debts to pension or profit-sharing plans, and other similar debts \
I
g ve Q] Other. Specify 1
as i
Offictal Form 106E/F Schédule E/F: Creditors Who Have Unsecured Claims page, of

Debtor 1

Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Waldermar Ruiz Cruz

First Name Middla Name

Last Nema

Case number ¢i knowa}

Your NONPRIORITY Unsecured Claims — Continuation Page

‘After listing any entries on this page, number them beginni

| Bridgecrest

540,071.09)

Last 4 digits of account number
Nonprlarify Creditar’s Name a? i
he the debt incurre :
| PO Box 842695 When was the de
\ Number Street ;
i im is: | , |
Los Angeles CA 90084 As of the date you file, the claim is: Check all that apply.
City State ZIP Coda a Contingent
OC Uniiquidatad
Who Incurred the debt? Check one. CQ) Disputed i
i Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
| C1 Debter 1 and Debtor 2 only CD Student leans !
| C1 At laast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that :
4 . wo you did not report as priority clalms |
i I :
| LI Check i this claim Is for a community debt C} Debts to pension or profit-sharing plans, and other similar debts :
i ls the claim subject to offset? CI Other, Specify
| bi No :
i C) Yes ;
BMW Financial Services Last 4 digits ofaccountnumber $ 992.57
i Nonpriority Creditors Name Wh the debt | a :
en was the debt Incurre |
| PO Box 78103 |
Number Streat i
' As of the date you file, the clalm Is: Check afl that apply. }
/ Phoenix AZ 85082 ¥ ny
Gilly State “ZIP Gade C4 Contingent !
(4 Uniquidated i
Who incurred the debt? Chack one. CE) bisputed :
WI debtor 1 oniy i
C} Dabtor 2 only Type of NONPRIORITY unsecured claim: |
[J Debtor 1 and Debtor 2 only C] Student loans |
C) At least one of the debtors and another (2 Obligations arising cut of a separation agreement or divarce that i
i sesky : ' you did not report as priority claims
i C1 Check if this claim is for a communlty debt (Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? C) other. Specify
4
| a No
CO) Yes i
394 8 3 2,664.28 |
Capital One Credit Card Last 4 digits of account number 9 9) oo :
i Nonpriority Creditor's Name Wh the debti 4
: en was the debt incurred?
PO Box 4069
Number Street :
As of the date you file, the claim is: Check all that apply.
Carol Stream IL yous: pey
City State ZIP Code M4 contingent

Official Form 106E/F

Who incurred the debt? Check one.

(J Debtor 1 only

Debtor 2 only

(J) Debtor 1 and Debtor 2 only

wi At least one of the debtors and another

C) Chack if this claim is for a community debt

Is the claim subject to offset?

id No

Ld Yes

CQ Unliquidated
CO Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO] Debts ta pension or profit-sharing plans, and other similar debts
DD other. Spacify

Schedule E/F: Creditors Who Have Unsecured Claims

page of
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 1 Waldermar Ruiz Cruz Case number 6 known,

First Narnia Middle Name Last Name

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured clalms against you?

CO No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

“claims fil out the Continuation Page of Part 2.

SYNCHRONY BANK/ AMAZON Last 4 digits of account number 28 0. 2 560100 |
Nonpricrify Craditor's Neme $Y ‘
When was the debt Incurred? i
| PO BOX 71711
i Number Street , :
i PHILADELPHIA PA 19176
Clly State ZiP Goda As of the date you file, the claim is: Check all that apply. i
ff Contingent
Who Incurred the debt? Cheak one. Unliquidated
Wd Debtor 4 only C) disputed
OQ Deator 2 only
| ( Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim: i
(4 At least one of the debtors and another O Student loans |
i (J Check if this claim is fora community debt Cy Obligations arlsing out of a separation agreement or divorce
: fhat you did not report as priority clalms i
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts :
WA No GL) other. Spacity
QO Yes :
kz | APPLE MASTERCARDGOLDMAN SACHS BANK Last 4digits of account number_8 4 8 _7 s__ 1,020.64
i Nonpriorty Greditor's Name Whon was the debt incurred? :
| PQ BOX 7247
: Number Street i
i PHILADELPHIA PA 19176 As of the date you file, the claim Is: Check all that apply. |
City State ZIP Code y Contingent
Who Incurred the debt? Check one. LJ Unilquidated
: 1A Debtor 4 only C1 disputed i
Q) Debtor 2 only . :
(Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim: i
( At least one of the debtors and anather (2) Student cans

Cl Obligations arising out of a saparation agreetnant or divorce

(] Check if this claim Is for a community debt that you did not report as priority claims

Is the claim sublect to offset? C Debts to pension ot profit-sharing plans, and other simitar debts
Zi neo ( other. Specify
: CY ves
es | CREDIT ONE BANK Last 4 digits of account number 7 6 9 3 4 357.27
Nonpriotity Creditors Name §_ eee
When was the debt incurred? \
PO BOX 60500
Number Street :
CITY OF INDUSTRY, CA 19176 le
Gy Sine FIP Gods As of the date you file, the claim is: Check all that apply. f
Who incurred the debt? Check one. a Contingent !
! Q Unliquidated j
i MF Debtor 4 only (1 disputed
t

O Debtor 2 only
() Dabter 4 and Debtor 2 oniy

Type of NONPRIORITY unsecured claim:
At least one of the debtors and another

C1) student toans

CQ) Check if this claim Is for a community debt {J Obligations arising out of a separation agreement or divorce

| . . that you did not report as priority claims i
et?

t tn claim subject to offset Ql Debts to pension or profit-sharing plans, and other similar debis

° QI other. Specify :

| tl Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
Debtor 1

Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Waldermar Ruiz Cruz

First Namo Middia Name Last Namo

Case number Gf kon)

a Your NONPRIORITY Unsecured Claims — Continuation Page

i

After listing any entries on thi page, number them beginning with 4.4, followed by 4.5, and. so forth 2

[| GREDIT ONE BANK

Last 4 digits of account number 4A 6. 2. 5 g. 1,063.42
i Nonoriority Creditors Name |
\ i ?
PO BOX 60500 When was the debt incurred
! Number Streat i
As fil . Kk alll th: ly. i
CITY OF INDUSTRY CA 91716 of the date you file, the claim Is: Check all that apply.
Cy Bata ZIP Coda WM Contingent
O untiquidated
; Who incurred the debt? Check one. J pisputed
[A Debtor 4 only
i C) Bebter 2 only Type of NONPRIORITY unsecured claim: :
[1 Debtor 1 and Debtor 2 only OO Student loans
Cy Atleast ons of the debtors and another (J Obligations arsing cut of a separation agreement or divorce that
{] Gheck if this claim ts for a community debt you did not report as priority calms :
LY Bebts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? (2 other. Specify
wf No i
QO Yes
L_ CREDIT ONE BANK Last 4 digits of account number 5 0 8 8 g 710.25)
: Nonpriority Creditors Name Wh the debt | 4?
i en was the debt incurra:
' PQ BOX 60500
: Number Street
i As of the date you file, the claim is: Check all that apply.
| CITY OF INDUSTRY CA 91716 the date you file een eee Spey
Gly State ZIP Gode i Contingent
CJ unliquidated
! Who incurred the debt? Chack one. OD disputed
i 0 Debtor 4 onty
(J) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only (Student loans
At least one of the debtars and another O) obtigations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims
CI Debts to pension or profit-snaring plans, and other similar dabts
Is the claim subject to offset? OQ) other. Specify
i No
C) Yes i
| 3400 9 15,159.49)
UPGRADE FINANCIAL Last 4 digits of account number Ji. 2 & YU
Nonpriority Creditors Name w h
hen was the debt incurred?
2 N. CENTRAL AVENUE, Floor 10
Number Street
As of the date you file, the claim is: Check all that apply.
PHOENIX AZ 85004 ° mo per au amar ape
Gity State ZIP Code (A Contingent

Official Form 106E/F

Who incurred the debt? Check ane.

C) Debtor 4 only

(2 Debtor 2 only

(CI Debtor 1 and Debtor 2 only

U At least one of the debtors and another

CJ Check if this claim Is for a community debt
Is the claim subject to offset?

i No
QO) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

O) unliquidated
QY Disputed

Type cf NONPRIORITY unsecured claim:

QO) Student loans

wl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims.

(4 Debts to pension or srofit-sharing plans, and other similar debts
C) other. Spectty

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Debtort  Waldermar Ruiz Cruz

First Name Middle Name Last Name.

Case number (7 known),

List Others to Be Notified About a Debt That You Already Listed

| 5. Use this page only if you have others to be notlfled about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
: 2, then list the collection agency here. Similarly, If you have more than one creditor for any of the debts that you listed In Parts 1 or 2, list the

additional creditors here. If you do not have additionat persons to be notifled for any dabts in Parts 1 or 2, do not fill out or submit this page.

On which entry In Part 1 or Part 2 did you list the original creditor?

Nama
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number.
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street (3 Part 2; Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 4 or Part 2 did you list the orlginal creditor?
Name
Line of (Check one): al Part 4: Creditors with Priority Unsecured Claims
Number Straet QO Part 2: Creditors with Nonpriority Unsecured
Clalms
Last 4 digits of account number
1 EM nn nncenmsrseonoe aot ener State, ee UP COG cco oanrectecirteccne rater e-ye nienmuntnnanhiatts ie $8 RPSanarne natant MERGER in a ERIS OAR EIT A
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line af (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Streat OQ) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of account numbers
City State ZIP Coda ~ oe es
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
werllty State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 4: Creditors with Priority Unsecured Claims
Number Streat ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
i On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): ©) Part 4: Creditors with Priority Unsecured Claims
Number Stest ( Part 2: Creditors with Nonpriority Unsecured
Claims
aiy Sate Si Gods Last 4 digits of account number
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _ of
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Debtor 4 Waldermar Ruiz Cruz

First Nama Midela Name Last Name

Case number tknown},

Eo Add the Amounts for Each Type of Unsecured Claim

: 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

veg .. 6a, Domestic support obligations 6a.

5 0.00
6b. Taxes and certain other debts you owe the
government 6b. g 0.00
6c. Claims for death or personal Injury while you were
intoxicated 6c. $ 0.00
of 6d. Other. Add all other priority unsecured claims.
* Write that amount here. 6d. +¢ 105,903.76
eS : 6a. Total. Add tines 6a through 6d. 6e.
oo 9 ¢ 105,903.76
© Tolal claim
T otal: cl alm 5 6f. Student loans 6f. 5
i from Fart 2 6g. Obligations arising out of a separation agreement
= : or divorce that you did not report as priority
claims 6g. $
. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
i. Other, Add all other nonpriority unsecured claims.
Write that amount here. 6. +t ¢
| 6). Total. Add lines 6f through 6i. gj. ‘
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

page of_

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aM REMI erie mreR tlhe most mer tion

Waldemar Ruiz Gruz

Debtor

First Nama Middle Name Last Nama
Debtor 2
(Spouse If fillng) FiratNarne Middla Name Laat Name

Unitad States Bankruptcy Court forthe: Eastern District of New York

Casa number
(lf known}

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

Wi Check if this is an
amended filing

125

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
Information. If mors space is needed, copy the additional page, fill it out, number-the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

4, Do you have any executory contracts or unexpired leases?

Wd No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
(J Yes. Fill in all of the Information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form In the instruction booklet for more examples of executory contracts and
unexpired leases.

24

; Number Street

— Name

i

; Number Street

__Bity State. ZIP Code

Officlal Form 108G

Schedule G: Executory Contracts and Unexpired Leases

P-! Honda Financial Services Honda Accord 2023 Auto Lease
| Name
i
| PO Box 70252
i Number Street
Philadelphia PA 19176
i City State ZIP Code
i Name
Number Street
beer DY coors rman aeunmnstats.._ ZIP Code acm vate eons
2.3:
! Name
Number Street
cove ata IP GOGO cna macnn nomannconcn se ee pe on

page 7 of_
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Debtor 1 Waldemar Ruiz Cruz Case number known)

First Name Middle Name Last Name

What the contract or lease is for 00

:
i
i City State ZIP Code
ap we oct mance 2 anercienennss seer : : won
wt
eo
£
: Name
Number Street
1 Gig Stale ZIP Goda
2)
vl
} Name
Number Street
| City Stata ZIP Code

City State ZIP Code

AAP SE RIF EE TRON MT ERT EE EE TE RRC SL ET

Number Streot

t City State ZIP Code

Number Street

State ZIP Code

Spe Se ep eM SITE

SPORT ARENT Le RESEARCHED TSE OT as al

Name

Number Street

City State ZIP Cade

2}
i Name
Number Street
Official Form 1066 Schedule G: Executery Gontracts and Unexpired Leases page oof
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered V4/Oo0/24 Lolioviel

TBM CMI CO EUE LCE am em CULM Cel mescltoh

Rebtor 1 Waldemar Ruiz Cruz

Firat Name Middle Nene Last Name

Debtor 2
{Spouse, i filing) First Name Middle Name Last Name

United Statas Bankruptcy Court for the: Eastern District of New York

Case number
(if known)

(J Check if this is an

amended filing

Official Form 106H
Schedule H: Your Codebtors

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill if out,
and number the entries-In the boxes on the left: Attach the Additional Page to this page. On-the top-of any Additional Pages, write-your name-and

case number (if known}. Answer every question.

- 4. Do you have any codebtors? (If you are filing a joint case, do not jist either spouse as a codebtor.)

i No
QQ Yes

: 2. Within the fast 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

wi No. Go to line 3.
Q) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

A No

LJ Yes. In which community state or territory did you live’? . Fill In the name and current address of that person.

Name of your spouse, former spouse, of lagal equivalent

Number Street

Chy State ZIP Code

: 3. tn Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D}, Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

~ Check all schedules that apply: —

LI Schedule 2, line

Name

QI Schedule E/F, line
Number Street QO) Schedule &, line
Cliy State ZiP Code

Column 1:Your codebtor : See “ - ee . wn ee - : “ “Column 2: The ereditor.to whom you owe the debt-

3.2
C) Schedule D, line

: Name
O) Schedule E/F, line
Number Strat fl Schedule G, line

MEY oon ne SAB RIP Code

QC) Schedule D, line

. Name
: O) Schedule E/F, line
{
: Number Steet Schedule G, line
i
RY State ZIP Code,

|
|

Official Form 106H Schedule H: Your Cedebtors page tof

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Debtor 1

Waldemar Ruiz Cruz

First

Name Middla Name Last Name

Case number tf known)

Additional Page to List More Codebtors

olumn.2:"The creditor to whiom you owe the debt |

“heck all'sehedules that appiy: = 2.

CJ Schedule BD, iine

Name

2 Schedule E/F, line

Number

Street

C} Schedule G, line

State _ ZIP Gade

(1 Schedule D, line

Nama
Q) Schedule E/F, line
Number Street CJ Schedule G, line
a nmenne ne ee ere Se ae cee Ode centr mane cates a ecnmeeaecnemea eannine ues gan ining ei aie pean
O) Schedule D, line i
Name :
( Schedule E/F, line
i Number Straat TL] Schedule G,line ‘
City State ZIP Code
(] Schedule D, line i
Neme Tere
(3 Schedule E/F, line
Number ‘Bireet (I Schedule G, line _-
2
i Sly LEE "SI iP Boge _
QO) Schedule D, line
Name
OY Schedule E/F, line
i Number Streat QO) Schedule G,iine
CT aw Stata ell Geode eine annonenureneat + nis cenumniimanuncerieniee cet ts comin iim anemia sini on sana
|
QO) Schedule D, Jine i
Nama j
Ci Schedule E/F, tine
Number Street C) Schedule G, line
tage Cty we semen ce wetate nen Ode acum remnneneenn ni heen deere evenness _
| QO) Schedule B, line
: Name
C) Schedule E/F, line
f
i lumber Sireat (Y ScheduleG, line
ty _ State meer oe Ht Code we etcens setemerareeningany sp le wo
2 Schedule D, line |
i Name To |
2 Schedule E/F, line |
| Namber ——Siret [C] Schedule G, line
i Cy Stata ZIP Gode

Official Form 106H

Schedule H: Your Godebtors

page sof
Case 1-24-419002-jmm Doc l Filed 04/00/24 Entered V4/Oo0ic4 Lolioviel

RU CR CUCL RCs CCNA De) lan ttt on

Debtor 4 Waidemar Ruiz Cruz

Firat Namo Middle Name Last Name

Debtor 2
(Spouse, If fling) Firsi Name Middle Name Last Name

United States Bankruptey Court for the: Eastern District of New York

Case number Check if this is:
(lf known)
Wi An amended Tiling

J A supplement showing postpetition chapter 13
Income as of the following date:

Official Form 1061 Mim Dory
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If fvo married people are filing together (Dabtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, Include Information about your spouse.
If you are separated and your spouse is not filing with you, do not Include information about your spouse. If more space is needad, attach a
separate sheat to this form. On the top of any additional pages, write your name and case number (If known}. Answer every question.

El Describe Employment

1. Fillin your employment ApS
information. Debtor

y Jebtor 2 of nonef | ng spouse oe

If you have more than one job,

attach a separate page with
information about aN itional Employment status wi Employed CI) Employed
employers. EJ Not employed Ld Not employed
Include parttime, seasonal, or
self-employed work, .
Poy Occupation Truck Driver
Occupation may include student
; or homemaker, if it applies.
Employer's name FedEx

Employer's address FedEx Freight Inc

Number Street Number = Street
30 Fedex Parkway
2nd Floor Horizontal
Collierville TN 38017
City State ZIP Code City State ZIP Code

How long employed there?

Ein Give Details About Monthly Income

Estimate menthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that persan on the lines
below, If you need more space, attach a separate sheet to this form.

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. § 4,000.00 $
3. Estimate and list monthly overtime pay. 3. Ss 0.00 +3
| 4. Calculate gross income. Add line 2 + line 3. 4. | $4,000.00 $

Official Form 1061 Schedule |: Your Income page 1

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Dabtor 4 Waldemar Ruiz Cruz

Case number (down),

First Nama Middle Name Lest Name
: “For Debtor Poe For Debtor 2 or.
Copy line 4 HOre......cesscescssssenseessstesesseeseneseeeetcsneeteeaiesusesaenoneeuesttecnsesseumeeneannes 4 § 4,000.00 §
6. List all payroll deductions:
5a, Tax, Medicare, and Social Security deductions fa. $ 0.00 $
5b. Mandatory contributlons for retirement plans 5b. $. 0.00 $
5c. Voluntary contributions for retirement plans Be. oS. 0.00 $ |
5d, Required repaymants of retirement fund loans Sd. $ 0.00 $
5e. Insurance Se. $ 0.00 $
5f. Domestic support obligations a. $. 0,00 $
5g. Union dues 5g. § 0.00 $
5h. Other deductions. Specify: Sh. FS 0.00 +48
6. Add the payroll deductions. Add lines 5a+ 5b+5e+5d+5e+5f+5g+5h 6. § 0,00 $
7, Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $
8. List all other Income regularly received:
8a. Net Income from rental property and from operating a business,
’ profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 8 i
monthly net income. 8a. see
ab. Interest and dividends Bb. § 0.00 $ |
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include allmony, spousal support, child support, maintenance, divorce g 0.00 $
settlement, and property settlement. Be. oo i
8d. Unemployment compensation ad § 0.00 § |
8e. Social Security Be. § 0.00 %
8f. Other government assistance that you reguiarly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: af = $_ 0.00. $
8g. Pension or retirement income 8g. §$ 0.00 5
8h. Other monthly income. Specify: 8h. +§ 0.00 +8
: 9, Add all other income. Add lines 8 + 8b + 8c + 8d + 8e + Bf +8g + Bh, a! 3 0.00 §
40. Calculate monthly income. Add line 7 + fine 9. 4 _ 4,000.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $__4,000.00)4| = f—4:000.00

M4

Official Form 106!

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

42. Add the arnount in the last column of line 10 te the amount in line 11. The result is the combined monthly Income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13.Do you expect an increase or decrease within the year after you file this form?

i No.

1,% 8 0.00

12.

; 4,000.00

Combined
monthly income

C) Yes. Explain:

Schedule I: Your Income
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MEE ULC MIELE Cem ech hae ell) mers tnt od

Debtor1 Waldemar Ruiz Cruz a
First Nama Middia Name. Lest Name Check if this Is:

Debtor 2 i
(Spouse, If fillng) First Name Aiddia Nama Laat Name QO An amended filing

[J A supplement showing postpetition chapter 13
expenses as of the following date:

United States Bankruptcy Court for the: Eastern District of New York

Case number MM / bos YY¥Y
{lf kerawn)

Official Form 106J
Schedule J: Your Expenses 42/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying corract

Information. If more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known}. Answer every question.

Describe Your Household

‘4. Is this a joint case?

i No. Goto tine 2.
L] Yes. Does Debtor 2 live ina separate household?

C No
C) Yes. Debtor 2 must file Official Form 10642, Expenses for Separate Household of Debtor 2.

2, Do you have dependents? C1 No :
Dependent's relationship to Dependent’s | Doss dependent live
Da not list Debtor 1 and wf Yes. Fill out this information for Debter 1 or Debtor 2 age | with you?
Debtor 2. each dependent... ccc Q
Do not state the dependents’ Mother 60 ig No
names. : Yas
L] No
CI Yes
O No
C] Yes
QJ No
C3 Yes
C No
O) ves
.4. Do your expenses include Wd No

expenses of people other than g
___.yourself and your dependents?‘ Yes

(a Estimate Your Ongoing Monthly Expenses

- Estimate your expenses as of your bankruptey filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule i; Your Income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage payments and

any rent for the ground or lot. 4. $ 0.00
If not included in line 4:

4a. Real estate taxes fa. § 0.00
4p, Property, homaowner’s, or renter's insurance 4b. § 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. § 0.00

Official Form 106J Schedule J: Your Expenses page 1
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Debtor 4 Waldemar Ruiz Cruz

aaa Was Nene =~ Case number (7 imown
. Your expenses : r Z \ i ms,
5, Additional mortgage payments for your residence, such as home equity loans 5. $ 9.09
6. Utilities:
6a. Electricity, heat, natural gas 6a. §$ 0.00
&b. Water, sewer, garbage collection eb. «= 0.00
6c. Telephone, call phone, Internet, satellite, and cable services be, § 150.00
ad. Other. Spacify: 6d. $ 0.06
7. Food and housekeeping supplies 7 § 1,500.00
8. Childcare and children’s education casts 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 150.00
40. Personal care products and services 1. 8 § 100.00
11, Medical and dental expenses WS 100.06
4 2. Transportation. Include gas, maintenance, bus or train fare. $ 250.00
Do not include car payments. 42.
13, Entertainment, clubs, recreation, newspapers, magazines, and books 13. 100.00
14, Charitable contributions and rellgious donations 44. 0.00
“16. Insuranca.
Do not Include insurance deducted from your pay or Included in lines 4 or 20.
16a. Life insurance 1a. § 0.00
15b. Health insurance 18. $ 0.00
15c. Vehicle insurance 15c. 3 632.00
16d. Other insurance. Specify: 15d. § 0.00
46. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 1s. of 0.00
17, Installment or lease payments:
17a. Car payments for Vehicle 4 17a. $ 980.00
47b. Car payments for Vehicle 2 47. 4 0.00
47c, Other. Specify; Motorcycle 17. $ 145.00
17d. Other. Specify: id. 8 0.00
48. Your payments of alimony, maintenance, and support that you did net report as deducted from
: your pay on line 5, Schedule |, Your Income (Official Form 106l). Bg 0.06
49. Other payments you make to support others who do not live with you.
Specify: 19. § 0,00
20. Other real property expenses not included in IInes 4 or 5 of this form or on Schedule i Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b, § 0.00
20c. Property, homeowner's, or renter's insurance 20c. §$ 0.00
20d. Maintenance, repair, and upkeep expenses 2od. § 0.00
20e, Homeowner's association or condominium dues. _ 20e. $ _ 0.00
Official Form 106J Schedule J: Your Expenses page 2
Case 1-24-41002-jmm Doc l Filed 04/00/24 Entered U4/Oo/24 Lolioviel

Bebter 4 Waldemar Ruiz Cruz

First Name Middle Narnia ‘Last Name

21. Other. Specify:

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Gopy lina 22 (monthly expenses for Debtor 2), If any, from Officlal Form 106-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

230. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

-24, Do you expect an increase or decraase In your expenses within the year after you file this form?

Case number (Ff kaown),

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

bl No. ees eerste

C) Yes. Explain here:

21.

22a.

22b.

22c.

23a.

23b,

23c.

+ 0.00
8 4,107.00
$ 0.00
$ 4,107.00

5 4,000.00

-§ 4,107.00

$ -+07.00

Official Form 106 Schedule J: Your Expenses

page 3
